
917 So.2d 1116 (2005)
CHAILLAND BUSINESS CONSULTANTS
v.
Larry J. DUPLANTIS, Jr.
Larry J. Duplantis, Jr.
v.
Chailland Business Consultants.
No. 2005-C-1523.
Supreme Court of Louisiana.
December 16, 2005.
*1117 In re Chailland Business Consultants;  Plaintiff; Applying for Writ of Certiorari and/or Review Office of Workers' Compensation Dist. 9, Nos. 02-04483, 02-04821,; to the Court of Appeal, First Circuit, No(s). 2004 CA 0965, 2004 CA 0966.
Denied.
